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                       IN THE UNITED STATES DISTRICT COURT                                    A 10: 50,
                      FOR THE SOUTHERN DISTRICT OF GEORGIA 4D~ JAN                       .
                               BRUNSWICK DIVISIO N



JOHN F. ARMSTRONG ; SAMUEL
BURTON ; MIKE KARAMOLENGOS ;
ROBIN MATZ ; ROBERT PEARSON ;
ALFRED REESE ; STEVE SNIPES ;
JOHN B . WELLS ; JASON JOHNSON ;
MATTHEW WODDARD ;
TRANSPORTATION INSURANCE
COMPANY,

                      Plaintiffs ,

       vs.                                                  CIVIL ACTION NO . : CV202-08 5

DURANGO GEORGIA PAPER CO . ,

                      Defendant and
                      Third Party Plaintiff,

       vs .

NORTH AMERICAN KILN SERVICE,
LLC .,

                      Third Party Defendant .



                                           ORDE R


       Defendant Durango Georgia Paper Company ("Durango") has filed a Motion in
Limine to Limit the Testimony of Plaintiffs' Expert, Fredric Gerr, M .D . Plaintiffs have filed

a response and Durango has replied . After review, Durango's Motion in Limine to Limit the

Testimony of Plaintiffs' Expert, Fredric Gerr, M .D . is DENIED at this time . While Dr . Gerr

may not have the expertise to testify as to specific psychological injuries, psychiatric injuries,

mental disorders and/or mood disorders, he does have the expertise required to testify that,
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in his opinion, exposure to chlorine and chlorine dioxide gases can cause psychological
problems .

      SO ORDERED , this Z1day of January, 2006 .




                                                 MSS F . G
                                                NITED STATES MAGISTRATE JUDG E




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